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                     EXHIBIT A
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 Attorneys for Defendants Kevin Long
 and Millcreek Commercial Properties, LLC


                       IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  CHRIS WILSON,                                      [PROPOSED] ORDER GRANTING
                                                       MOTION TO WITHDRAW AS
                Plaintiff,                             COUNSEL FOR DEFENDANT
                                                       MILLCREEK COMMERCIAL
  v.                                                       PROPERTIES, LLC

  KEVIN LONG; MILLCREEK
  COMMERICAL PROPERTIES, LLC;                        Case No. 2:23-CV-00599-AMA-CMR
  COLLIERS INTERNATIONAL; ANDREW
  BELL; KRISTIAN HUFF; TREVOR                        District Judge Ann Marie McIff Allen
  WEBER; SPENCER TAYLOR; BLAKE
  MCDOUGAL; SCOTT RUTHERFORD;                         Magistrate Judge Cecilia M. Romero
  EQUITY SUMMIT GROUP, P.C.;
  ELEVATED 1031; and MARY STREET,

                Defendants.

        Pursuant to the Motion to Withdraw as Counsel for Defendant Millcreek Commercial

 Properties, LLC filed by Terry E. Welch, Bentley J. Tolk, Rodger M. Burge, and Christian Chase

 Wilde (collectively, “Counsel”), and the law firm of Parr Brown Gee & Loveless, P.C., and

 pursuant to DUCIVR 83-1.4, the Court ORDERS that Counsel may each withdraw, and are each
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 hereby removed, solely as counsel for Defendant Millcreek Commercial Properties, LLC

 (“Client”) in this case.

          With regard to Client’s continued representation in this case, the Court ORDERS as

 follows: For entity parties (like Client): New counsel shall file a Notice of Appearance on behalf

 of any corporation, association, partnership or other artificial entity whose attorney has withdrawn.

 Pursuant to DUCivR 83-1.3, no such entity may appear pro se, but must be represented by an

 attorney who is admitted to practice in this court.

          A party who fails to file a Notice of Appearance as set forth above, may be subject to

 sanction pursuant to Federal Rule of Civil Procedure 16(f)(1), including but not limited to

 dismissal or default judgment.

            With regard to scheduling, the Court orders as follows:

 _____      All litigation dates pursuant to the controlling scheduling order remain in effect.

 _____      A scheduling conference is scheduled for ___________________, ____ at _____ __.m.

 _____      The action shall be stayed until twenty-one (21) days after entry of this order.


                                        NOTICE TO PARTY

            The Court will cause this Order to be sent to Client at the address set forth in the

 Motion to Withdraw as Counsel and to all other parties.

            DATED this __ day of January, 2025.


                                                 BY THE COURT:


                                                 Cecilia M. Romero
                                                 United States Magistrate Judge



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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 24th day of January, 2025, I caused to be served a true

 and correct copy of the foregoing [PROPOSED] ORDER GRANTING MOTION TO

 WITHDRAW AS COUNSEL FOR DEFENDANT MILLCREEK COMMERCIAL

 PROPERTIES, LLC via the CM/ECF system, which automatically provided notice to all counsel

 of record.


                                                                   /s/ Bentley J. Tolk




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